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13   Attorneys for plaintiffs (listing continues on following page)
14                            UNITED STATES DISTRICT COURT
15                   CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION

16
     JENNY LISETTE FLORES, et al.,               )   Case No. CV 85-4544 DMG (AGRx)
17
                                                 )
18            Plaintiffs,                        )   UNOPPOSED APPLICATION FOR LEAVE TO
     - vs -                                      )   FILE DEPOSITION EXCERPTS OF ASYLUM
19
                                                 )   APPLICANTS AND MEMORANDA
20   LORETTA E. LYNCH, Attorney                  )   IDENTIFYING ASYLUM APPLICANTS
     General of the United States, et al.,       )   UNDER SEAL; DECLARATION OF CLASS
21
                                                 )   COUNSEL
22            Defendants.                        )
                                             _   )   [HON. DOLLY M. GEE]
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Case 2:85-cv-04544-DMG-AGR Document 289 Filed 12/06/16 Page 2 of 6 Page ID #:9265


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1           This is an unopposed application seeking leave to file in the public record
2    the statement of uncontroverted facts, various deposition transcript excerpts
3
     (Exhibits 10-15, 17-20) from depositions taken of asylum applicant class
4
5    member children and their mothers, and Plaintiffs’ Supplemental Memorandum
6
     of Points and Authorities in support of Motion to Enforce Settlement and
7
     Appoint Special Monitor identifying such asylum seekers with identifying
8
9    information redacted so as to protect the identities of applicants for asylum.
10
     Pursuant to 8 C.F.R. §§208.6 and 1208.6 the identities of asylum applicants are
11
     confidential. See Declaration of Peter Schey attached hereto. While Defendants
12
13   have stipulated to this application they have reserved their opinion on the
14
     admissibility of Plaintiff’s filings.
15
16
            A proposed Order granting this application is lodged herewith.

17
18
     Dated: December 6, 2016.                            Respectfully submitted,

19                                                       CENTER FOR HUMAN RIGHTS &
20
                                                         CONSTITUTIONAL LAW
                                                         Carlos Holguín
21                                                       Peter A. Schey
22                                                       ORRICK, HERRINGTON & SUTCLIFFE LLP
23                                                       William A. Molinski
                                                         T. Wayne Harman
24
                                                         Elena García
25
                                                         (additional counsel next page)
26
27
28                                                       ///
                  UNOPPOSED APPLICATION RE FILING ASYLUM APPLICANTS DECLARATIONS UNDER SEAL
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                UNOPPOSED APPLICATION RE FILING ASYLUM APPLICANTS DECLARATIONS UNDER SEAL
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1
2                                                       LA RAZA CENTRO LEGAL, INC.
3
                                                        Michael Sorgen

4                                                       LAW FOUNDATION OF SILICON VALLEY -
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                                                        LEGAL ADVOCATES FOR CHILDREN &
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6                                                       Jennifer Kelleher Cloyd
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                                                        Of counsel:
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                                                        YOUTH LAW CENTER
11                                                      Alice Bussiere
12                                                      Virginia Corrigan

13                                                      /s/__Peter Schey_____
14                                                      Attorneys for Plaintiffs

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                 UNOPPOSED APPLICATION RE FILING ASYLUM APPLICANTS DECLARATIONS UNDER SEAL
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1                                     CERTIFICATE OF SERVICE
2          I, Peter Schey, declare and say as follows:
3
           I am over the age of eighteen years of age and am a party to this action. I am
4
5    employed in the County of Los Angeles, State of California. My business address is
6
     256 S. Occidental Blvd., Los Angeles, CA 90057, in said county and state.
7
           On December 6, 2016, I electronically filed the following document(s):
8
9    STIPULATED APPLICATION FOR LEAVE TO FILE DEPOSITION EXCERPTS OF ASYLUM
10
     APPLICANTS AND MEMORANDA IDENTIFYING ASYLUM APPLICANTS UNDER SEAL,
11
     PROPOSED ORDER GRANTING LEAVE, REDACTED DECLARATIONS OF ASYLUM
12
13   APPLICANTS, REDACTED STATEMENT OF UNCONTROVERTED FACTS, AND REDACTED

14
     MEMORANDA IDENTIFYING ASYLUM APPLICANTS with the United States District Court,
15
     Central District of California by using the CM/ECF system. Participants in the case
16
17   who are registered CM/ECF users will be served by the CM/ECF system.
18
                                                     /s/Peter Schey
19                                                   Attorney for Plaintiffs
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                 UNOPPOSED APPLICATION RE FILING ASYLUM APPLICANTS DECLARATIONS UNDER SEAL
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